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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

  NAVY SEAL # 1, et al.,

                             Plaintiffs,
                                                        Case No. 8:21-cv-02429-SDM-TGW
         v.

  JOSEPH R. BIDEN, JR., in his official
  capacity as President of the United States, et al.,

                             Defendants.

    DEFENDANTS’ MOTION FOR LEAVE TO RESPOND TO PLAINTIFFS’
        SUPPLEMENTAL MEMORANDUM IN SUPPORT OF CLASS
     CERTIFICATION AND CLASSWIDE PRELIMINARY INJUNCTION

        On April 26, 2022, Plaintiffs filed a “Supplemental Memorandum in Support of

  Classwide Preliminary Injunction.” ECF No. 176. The supplemental memorandum

  raises several new arguments in support of class certification in this case. In particular,

  Plaintiffs’ memorandum raises a number of arguments addressing another district

  court’s class certification order and class-wide preliminary injunction.

         Defendants respectfully move for leave to file a response of no more than twenty

  pages to the points raised in the supplemental memorandum, ECF No. 176, and for

  leave to file the response no later than May 23, 2022. Specifically, Defendants intend

  to respond to Plaintiffs’ arguments that (1) the proposed class is ascertainable because

  the Navy knows and can easily ascertain the number of Service Members who have

  submitted a religious accommodation request; (2) that the proposed class purportedly

  includes 24,817 Service Members; (3) that the commonality requirement is met


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  because proposed class members purportedly suffered the same injury; (4) that

  Plaintiffs satisfy the typicality requirement merely because they seek relief on RFRA

  and First Amendment grounds; (5) that Rule 23(b)(2) is satisfied because class

  members have been harmed in the same way; (6) that the Court should certify a

  redundant class; (7) that the first filed rule compels handling in this Court; and (8) that

  Plaintiffs have demonstrated class-wide irreparable harm. Defendants respectfully

  submit that the proposed response will assist the Court in deciding the pending motion

  for class certification.

                               Local Rule 3.01(g) Certification

         Defense counsel conferred with Plaintiffs’ counsel by email.           When first

  approached by email on May 5, 2022, Plaintiffs’ counsel did not oppose Defendants’

  request to file a response. By subsequent emails dated May 11, 2022 and May 12,

  2022, Defendants have requested Plaintiffs’ position on their request to file the

  response by May 23, 2022, but Defendants have not yet received a response. Pursuant

  to Local Rule 3.02(g), Defendants will supplement the motion with a statement

  certifying whether the Plaintiffs object to the proposed deadline after either contact or

  expiration of the three days.

  Dated: May 13, 2022                      Respectfully submitted,

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                                           Principal Deputy Assistant Attorney General

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                                           Director, Federal Programs Branch
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                                    ANTHONY J. COPPOLINO
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